   Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 1 of 23 PAGEID #: 984




                            IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION
Jim and Laurie Gibson,                     :
as next friends of Chloe Gibson,           : Case No.: 1:11-CV-329
                                           :
                Plaintiffs,                : Judge: Susan J. Dlott
                                           :
vs.                                        :
                                           :
Forest Hills Local School District         :
Board of Education,                        :
                                           :
                Defendant.                 :


                PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES


       Pursuant to Fed. R. Civ. P. 54(d), S.D. Ohio Civ. R. 54.2, 20 U.S.C. § 1415(i)(3)(B)(i)(I),

and this Court’s order (ECF No. 41), Plaintiffs move the Court for an award of attorneys’ fees

incurred in pursuing the administrative process and claims before this Court in the amount of

$848,220.00. Exhibit 1, Fees Statement. Plaintiffs were successful at several levels in this

litigation resulting in a large amount of compensatory educational services for Chloe, two

comprehensive evaluations, and several ordered changes to Chloe’s educational programming

for the future. In addition to the remedy ordered by the Impartial Hearing Officer in the

administrative proceedings, this Court entered an order granting Plaintiffs’ Motion for Transition

Remedy (ECF No. 42) and awarded a comprehensive transition remedy for Chloe. As a

prevailing party, Plaintiffs are entitled to an award of attorneys’ fees under the IDEA and Fed. R.

Civ. P. 54(d). Additionally, Plaintiffs request an award of fees reasonably incurred as a result of

this motion. A memorandum in support is attached and incorporated by reference.


                                              Respectfully submitted,

                                              s/ Virginia Wilson


{00076468-9}
  Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 2 of 23 PAGEID #: 985




                                     Virginia S. Wilson (0040466)
                                     Trial Attorney for Plaintiffs
                                     vwilson@disabilityrightsohio.org
                                     Jason C. Boylan (0082409)
                                     jboylan@ disabilityrightsohio.org
                                     Ohio Disability Rights Law & Policy Center, Inc.
                                     DISABILITY RIGHTS OHIO
                                     50 W. Broad St., Suite 1400
                                     Columbus, OH 43215-5923
                                     Phone (614) 466-7264
                                     Fax    (614) 644-1888
                                     Counsel for Plaintiffs




{00076468-9}                            2
     Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 3 of 23 PAGEID #: 986




                                     MEMORANDUM IN SUPPORT

I.      BACKGROUND

        A.       Due Process Hearing

        Jim and Laurie Gibson filed an administrative due process complaint on behalf of their

daughter, Chloe (collectively “the Gibsons”), against Forest Hills School District Board of

Education (“Forest Hills”) on December 14, 2009, after several years of attempting to resolve

these matters informally and through the state complaint process with the Ohio Department of

Education (ODE). 1

        When they were not able to get the services and evaluations their daughter needed

through the IEP and state complaint processes, the Gibsons filed a request for an impartial due

process hearing in accordance with the Individuals with Disabilities Education Improvement Act

(“IDEA”), 20 U.S.C. § 1415 and Ohio Admin. Code 3301:51-05. The Gibsons alleged, among

other things, that Forest Hills failed to provide proper transition assessments and services, an

assistive technology evaluation, and appropriate Individualized Education Program (“IEP”) goals

that included academics and functional skills designed to lead to Chloe’s increased independence

and future community-based employment opportunities.

        The due process hearing began in May of 2010 and ended more than seven months later

after twenty-six hearing dates. The due process lasted an equivalent of five consecutive weeks

based on the complex issues involved and, in part, difficulty in scheduling the hearing dates due

to summer vacation and witnesses’ schedules. The issues in the hearing were multifaceted and


1
   The Ohio Department of Education ordered Forest Hills to comply with its 2007 Letter of Findings, which found
multiple violations and awarded Chloe 90 hours of compensatory education for failure to provide a proper IEP,
transition services, and parental participation. Due Process Pet. Ex. KKKK. Forest Hills ignored ODE’s orders for
a year until the Gibsons sought enforcement. Due Process Pet. Ex. W, p. 4. Two years after the state complaint was
first filed and after yet another challenge by Forest Hills, ODE confirmed the previous Letter of Findings and found
that Forest Hills continued to be out of compliance with the IDEA. Id., p. 17.


{00076468-9}
    Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 4 of 23 PAGEID #: 987




interrelated, and this, coupled with the fact that hearings were held largely on nonconsecutive

days, caused considerable difficulty in maintaining consistency during testimony. For example,

the testimony of Plaintiff Laurie Gibson and Forest Hills witnesses Betsy Ryan and Susie

Giesting were broken up several times to allow for the limited time schedule of other witnesses

to testify. Additionally, there were many schedule adjustments and changes throughout the

hearing as efforts were made to work around the work schedules for all the parties and the

availability of Forest Hills and outside witnesses, as well as the scheduled use of the room for the

hearing. Many of the witnesses were Forest Hills employees who were, in effect, examined and

cross-examined twice, as witnesses for Forest Hills and adverse witnesses for the Gibsons. In

all, the parties examined 23 witnesses during the hearing with several being called multiple times

throughout the process. There were approximately 260 exhibits used in the hearing. Given the

topic complexity and sheer volume of the evidence, both parties had two attorneys present for

nearly all of the hearing dates.

         B.       Necessary Briefing During and After the Due Process Hearing.

         In addition to presenting testimony and evidence, there were a number of issues raised by

Forest Hills during the hearing which required the parties to argue and file additional briefs for

the IHO. Forest Hills challenged the IHO’s authority to hear and decide the Gibsons’ Section

504 of the Rehabilitation Act and related IDEA claims, and the IHO requested that the parties

file briefs during the hearing regarding those issues. 2

         The Gibsons had also requested an independent educational evaluation (IEE) at Forest

Hills’ expense to assess Chloe’s transition needs prior to the commencement of the hearing; a

2
  “A plaintiff must exhaust administrative remedies before bringing suit to obtain relief that is available under the
IDEA…. Moreover, Plaintiff may not avoid the exhaustion requirement of the IDEA by also stating claims under
the Rehabilitation Act… if the Plaintiff's claims are also actionable under the IDEA.” Bishop v. Oakstone Academy,
477 F.Supp.2d 876, 882-83 (S.D.Ohio 2007) (citations omitted). The IHO decided the Gibsons’ Section 504 claims
to the extent that they related to the identification, evaluation, or education of Chloe. SLRO Dec. p. 32.


{00076468-9}                                              2
    Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 5 of 23 PAGEID #: 988




claim in the due process hearing. Forest Hills initially agreed to the IEE and the Gibsons advised

the IHO that the issue was resolved. Forest Hills then decided, a week into the hearing, to deny

the requested IEE, arguing that Chloe was not entitled to an IEE because it had not yet conducted

a thorough transition assessment. This required the Gibsons to file a motion asking the IHO to

order Forest Hills to provide the transition IEE or order a transition evaluation for Chloe. The

IHO found during the hearing that the Gibsons had requested an independent vocational

transition assessment, the assessment was needed, and that Forest Hills had not provided a

thorough transition assessment. Tr. Vol. 6, p. 898-99. Consequently, the IHO ordered that

Forest Hills pay for the independent vocational assessment for Chloe.

        In addition to the briefing during the hearing, the parties submitted extensive post-hearing

briefs prior to the final IHO decision. The briefs consolidated testimonial evidence taken by 23

witnesses over 26 days of hearing with 260 exhibits, and incorporated 5,381 pages of transcript

for the IHO’s review and decision.

        C.       Impartial Hearing Officer Decision.

        In a broad-sweeping decision, the IHO ordered Forest Hills to overhaul Chloe’s IEP,

ordered Forest Hills to provide a comprehensive transition evaluation through Goodwill and an

augmentative communication assessment, ordered Forest Hills to provide 480 hours of

compensatory education, and set specific parameters for Forest Hills to change Chloe’s future

IEP goals and instruction. 3 IHO Dec. pp. 16-17. The IHO held that Chloe had been denied a


3
  The IHO ordered Forest Hills to rewrite Chloe’s IEP goals to increase the expectations of her progress on her
current bilateral hand and maneuverability goals, including specific safety instruction to increase her physical
stamina and strength. Forest Hills was ordered to develop an IEP goal designed to decrease prompt dependency in
all aspects of Chloe’s education, and provide her with 40 minutes instruction each day on a new reading goal
designed to increase reading fluency using a structured reading program. Forest Hills was ordered to develop a math
goal for Chloe designed to increase money skills including counting and recognition of coins, including skills for
making purchases, and spend at least 40 minutes per day on that goal. Finally, Forest Hills was ordered to procure an
augmentative communication assessment, and then develop IEP goals, objectives, and related services to increase
speech initiation and output based upon the results of that assessment.


{00076468-9}                                             3
   Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 6 of 23 PAGEID #: 989




FAPE for the full two years preceding the due process request, based upon the deficiencies in all

of her IEPs during that two year period. IHO Dec. p. 16, ¶22. She found Chloe’s IEP goals for

the 2007-2008, 2008-2009, and 2009-2010 school years were inadequate in several respects and

were not sufficiently challenging to move her forward. Id., at ¶ 19. Thus, the Gibsons were

successful in obtaining a ruling that Forest Hills denied Chloe a FAPE for the maximum amount

of time available in due process complaints under the IDEA’s two-year statute of limitations and

obtained significant compensatory and prospective remedies for Chloe. See 20 U.S.C.

§ 1415(b)(6).

       D.       Appeal to the State Level Hearing Officer.

       While the Gibsons prevailed on a significant portion of the due process complaint and the

IHO ordered that a comprehensive transition evaluation be conducted, she did not order any

compensatory education or other remedy for Forest Hills’ failure to provide appropriate

transition assessments and services for the two years at issue in the due process. The Gibsons

believed that transition instruction was very central to Chloe’s future community involvement,

and failure to have these services would significantly limit her opportunities. Since the IHO-

ordered Goodwill evaluation alone did not afford Chloe any transition services or instruction, the

Gibsons appealed the IHO’s failure to award compensatory education for, among other things,

transition planning and services. The Gibsons also raised claims regarding the failure of Forest

Hills to include the Gibsons’ input, including Chloe’s interests and preferences in her educational

planning, its failure to provide appropriate assistive technology services, and to ensure Chloe

was educated in the least restrictive environment because they felt these were all closely related

to Chloe’s needs for purposeful and meaningful transition planning and services.

       Forest Hills did not appeal any issues to the SLRO. However, in its reply brief to the

SLRO, Forest Hills raised for the first time new challenges to the IHO-ordered compensatory


{00076468-9}                                     4
   Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 7 of 23 PAGEID #: 990




education and IEP revisions. These appeal issues were clearly outside the scope of the Gibsons’

appeal issues and were untimely as Forest Hills had not exhausted its administrative remedies on

those claims. Forest Hills’ reply raising these issues required the Gibsons to spend additional

time to brief a response that addressed these issues. In an August 15, 2011 decision, the SLRO

upheld the IHO decision that granted the Gibsons substantial relief, ruled in favor of Forest Hills

on the transition and related issues appealed by the Gibsons, determined that under the IDEA the

issue of whether the Gibsons were the prevailing party was to be determined by the courts, and

appropriately refused to rule on appeal issues that Forest Hills had raised for the first time in its

reply brief to the SLRO. SLRO Dec. pp. 23, 33.

       E.      Fees Petition in Federal Court.

       Based upon their success in the IHO decision and in light of Forest Hills’ failure to

timely appeal the IHO’s order, the Gibsons filed a fees complaint in this Court in accordance

with 20 U.S.C. § 1415(i)(3)(B)(i)(I) on May 19, 2011 to preserve their right to attorney fees as a

prevailing party. ECF Nos. 1-2 and 3.

       F.      Forest Hills’ Complaint in Federal Court and the Gibsons’ Counterclaims.

       Forest Hills filed a separate complaint in this Court on September 13, 2011, arguing that

the SLRO improperly failed to address the issues it raised in its reply brief at the SLRO level.

Case No. 1:11-cv-628, ECF No. 1. The Court, at the request of the Gibsons and with agreement

by Forest Hills, consolidated the Gibsons’ fees petition with Forest Hills’ complaint. ECF No.

17. Because Forest Hills had not exhausted its administrative remedies by appealing the IHO

decision to the SLRO, the Gibsons filed a motion to dismiss Forest Hills’ claims improperly

brought before this Court, (Case No. 1:11-cv-628, ECF No. 2), and filed counterclaims to Forest

Hills’ complaint including the very significant issue of an appropriate transition remedy. Case

No. 1:11-cv-00628, ECF. No. 10. Forest Hills filed a response to the Gibsons’ motion to


{00076468-9}                                      5
   Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 8 of 23 PAGEID #: 991




dismiss. Case No. 1:11-cv-628, ECF No. 6. The Gibsons replied to Forest Hills’ response. ECF

No. 18. The Court then granted the Gibsons’ motion, dismissing all of Forest Hills’ claims

leaving only the Gibsons’ counterclaims and fee complaint for review by this Court. ECF No.

20.

       G.      Federal Briefing and This Court’s Decision on the Gibsons’ Affirmative
               Claims.

       At the May 17, 2012 status conference to set a briefing schedule, the Court specifically

requested that for the briefing on the issues, the parties err on the side of extended explanations

of the complex special education-specific IDEA law and issues appealed in this case. The

Gibsons filed an extensive merit brief which outlined special education history, theory, practices,

and rationale, as well as a complete history of Chloe’s education and issues for review. ECF No.

28. Forest Hills submitted an extensive merit brief as well, (ECF No. 31) raising issues that

required the Gibsons to file a response. ECF No. 34.

       On June 11, 2013, the Court issued an order affirming in part and reversing in part the

SLRO’s decision. ECF No. 35. The Court found that Forest Hills had failed to appropriately

assess Chloe’s transition needs and develop appropriate transition goals based upon those

assessments, and failed to include Chloe in developing her postsecondary transition goals,

resulting in a substantive harm and denial of a free and appropriate public education (“FAPE”).

As part of that decision, the Court ordered a conference with the parties on the remedy as the

Court did not have sufficient information to construct an appropriate remedy.

       H.      Remedy Briefing and Expert Report.

       After an unsuccessful attempt by the parties to settle the remedy, the Court provided the

Gibsons the opportunity to file a motion for a remedy and scheduled agreed upon deadlines for

the parties to submit briefs, request an evidentiary hearing, offer expert evidence, and provide



{00076468-9}                                      6
      Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 9 of 23 PAGEID #: 992




their arguments and information to the Court as to an appropriate transition remedy for Chloe.

ECF No. 39. The Gibsons timely filed a motion for a transition remedy with a proposed remedy

supported by an individualized expert evaluation with recommendations for Chloe. ECF No. 42.

Forest Hills responded by opposing the Gibsons’ proposed remedy and provided a report by a

neuropsychologist along with his recommendations. ECF No. 43. The Gibsons replied to Forest

Hills’ brief on the remedy. ECF No. 44. Forest Hills then filed a motion for an evidentiary

hearing. ECF No. 45. The Gibsons filed a response in opposition to Forest Hills’ request for an

evidentiary hearing, arguing that the request was untimely and unnecessary as the Court had

sufficient information to fashion an appropriate remedy. ECF No. 46. Forest Hills replied to the

Gibsons opposition to an evidentiary hearing. ECF No. 48. The Court denied Forest Hills’

motion for a hearing on the remedy, finding that it already had sufficient information to order a

remedy. ECF No. 50.

         On February 11, 2014, the Court ordered a remedy for Chloe Gibson which included 590

hours of compensatory transition services including vocational instruction, job coaching and

transportation, and also required Forest Hills to pay for the cost of the expert evaluation needed

to determine an appropriate remedy for Chloe. ECF No. 49. The Gibsons now seek an award of

attorneys’ fees incurred in the course of this more than four-year litigation. 4

II.      LAW AND ARGUMENT

         A.      The Gibsons Are Entitled to an Award of Attorneys’ Fees Under the IDEA
                 and Fed. R. Civ. P. 54(d) Because They Are the Prevailing Party.

         The IDEA and Fed. R. Civ. P. 54 entitle the Gibsons to an award of attorneys’ fees in this

action. The attorneys’ fees provision of IDEA states: “[i]n any action or proceeding brought

under this section, the court, in its discretion, may award reasonable attorneys’ fees as part of the

4
  The Gibsons’ counsel calculated the amount of time spent in nine different stages of this case, which also shows
the percentage of time deducted for billing judgment per stage. See Ex. 1, p. 2, Summary of Time by Stage of Case.


{00076468-9}                                            7
    Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 10 of 23 PAGEID #: 993




costs-- . . . (I) to a prevailing party who is the parent of a child with a disability.” 20 U.S.C. §

1415(i)(3)(B)(i)(I). Since this lawsuit originated under the IDEA and the IDEA contemplates an

award of attorneys’ fees to a prevailing party who is the parent of a child with a disability, the

Gibsons may properly seek attorneys’ fees from Forest Hills as the prevailing party in this action.

         The Sixth Circuit applies the Buchannon “prevailing party” standard in IDEA cases

where plaintiff-parents seek attorneys’ fees from school districts as prevailing parties. See,

Tompkins v. Troy Sch. Dist., 199 Fed. App’x 463, 466 (6th Cir. 2006) (the court applied the

Buchannon analysis when determining whether the parents were eligible for attorneys’ fees

under IDEA as prevailing parties); see also, B.H. v. West Clermont Bd. of Educ., 788 F.Supp.2d

682, 702 (S.D. Ohio 2011) (the court granted an attorneys’ fee award to parents as prevailing

parties citing the Buckhannon standard). Under Buckhannon, a party is a prevailing party where

(1) it receives “at least some relief on the merits of [its] claim,” and (2) there is a “judicially

sanctioned change in the legal relationship of the parties.” Buckhannon Bd. & Care Home, Inc.

v. W. Virginia Dep’t of Health and Human Res. 532 U.S. 598, 603 (2001) (abrogated on other

grounds).

         In this case, Chloe Gibson has been awarded a combined total of 1,070 hours of

compensatory education, received two comprehensive educational assessments and payment for

the updated transition assessment necessary for the court to fashion an appropriate transition

remedy, and obtained several court-ordered significant prospective changes to Chloe’s IEP and

educational programming. 5 Undoubtedly, the IHO and Court orders have resulted in excellent

relief for Chloe and has materially altered the legal relationship between the parties.


5
 In addition, the Gibsons have prevailed on two separate state complaint decisions with ODE: the first is outlined in
footnote 1 above; the second was to enforce the remainder of the compensatory education and evaluations ordered
by the IHO. ECF No. 44, Ex. 6, November 2013 ODE Letter of Findings. Time litigating these state complaint
actions has been excluded from this request for attorney fees.


{00076468-9}                                              8
  Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 11 of 23 PAGEID #: 994




       The Gibsons are also entitled to an award of additional attorneys’ fees incurred as a result

of the instant motion. See, Keene v. Zelman, 2008 WL 2202011, *1 (S.D. Ohio May 23 2008)

citing Kaseman v. District of Columbia, 444 F.3d 637, 640 (D.C. Cir. 2006) (noting the general

rule that the court may award additional fees for time reasonably devoted to obtaining attorneys’

fees). The Gibsons must request attorneys’ fees via motion under Rule 54(d); therefore, they are

also entitled to recover fees for the time spent presenting this motion to the Court. If the Court

grants this motion, the Gibsons will supplement the record to include contemporaneous time

records for time spent on this motion.

       B.      The Gibsons’ Request for Attorneys’ Fees is Reasonable.

       After determining whether a party is entitled to fees, a court must then determine whether

the fees are reasonable. See, Paschal v. Flagstar Bank, 297 F.3d 431, 434 (6th Cir. 2002) citing

Reed v. Rhodes, 179 F.3d 453, 471 (6th Cir. 1999). A reasonable award is calculated based on

the number of hours reasonably expended on the litigation multiplied by a reasonable hourly

rate. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). In calculating this “lodestar” amount, the

prevailing party should exercise billing judgment to exclude from the fee request hours that are

excessive, duplicative, or otherwise unnecessary. Id. at 434. There is a strong presumption that

the lodestar amount is a reasonable fee to be awarded to prevailing parties. See, Blanchard v.

Bergeron, 489 U.S. 87, 95 (1989) citing Pennsylvania v. Delaware Valley Citizens’ Council for

Clean Air, 478 U.S. 546, 565 (1986); Women’s Med. Prof’l Corp. v. Baird, No. 2:03cv162, 2003

WL 23777732, (S.D. Ohio, Dec. 15, 2003).

               1.      The Gibsons’ attorneys’ rates are reasonable.

       The Gibsons’ attorneys’ rates are reasonable given the experience of counsel and the

complexity of the issues raised in this case. To determine a reasonable rate, courts look to the

prevailing market rate, defined as the rate of lawyers with comparable skill and experience.


{00076468-9}                                     9
    Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 12 of 23 PAGEID #: 995




Northeast Coal. for the Homeless v. Brunner, No. 2:06-CV-896, 2010 WL 4939946, *7 (S.D.

Ohio Nov. 30, 2010) citing Geier v. Sundquist, 372 F.3d 784, 791 (6th Cir. 2004); see also, 20

U.S.C. § 1415(i)(3)(C). “‘In determining the reasonable rate, the Court has the discretionary

authority to consider a party’s submissions, awards in analogous cases, and its own knowledge

and experience from handling similar requests for fees.’” Northeast Coal. for the Homeless,

2010 WL 4939946, *7, citing Project Vote v. Blackwell, 1:06-CV-1628, 2009 WL 917737,*5

(N.D. Ohio, Mar. 31, 2009) (internal citations omitted).

         For attorneys who have no private practice, the rates customarily charged in the

community for similar services can be looked to for guidance. See Eggers v. Bullett City Sch.

Dist., 854 F.2d 892, 899 (6th Cir. 1988) (attorneys for publicly funded state agencies are entitled

to reasonable fees at fair market value); Blum v. Stenson, 465 U.S. 886, 895 (1984) (attorneys for

a non-profit legal services organization are entitled to reasonable fees at prevailing market rates).

         The Gibsons’ fee request is based on billing rates that have applied to the Gibsons’

counsel in past litigation and are comparable to rates customarily charged in the community by

lawyers with similar background, skill level, and experience. Mooneyhan v. Husted, No. 3:12-

cv-379, ECF No. 22, Decision and Entry Sustaining Plaintiff’s Motion for Attorneys’ Fees and

Costs (S.D. Ohio, March 29, 2013) (attached as Exhibit 2). In 2010, this Court determined

reasonable rates for attorneys and staff at the Ohio Legal Rights Service, now Disability Rights

Ohio. 6 See, Doe v. State of Ohio, No. 2:91-cv-464, ECF No. 193 (S.D. Ohio July 19, 2010)

(Order attached as Exhibit 3) approving rates for attorneys and staff at Disability Rights Ohio).

For two years, the billing rates for attorneys and paralegals at Disability Rights Ohio remained


6
  On October 1, 2012, Ohio Legal Rights Service became Ohio Disability Rights Law and Policy Center, Inc., a not
for profit corporation doing business as Disability Rights Ohio, and with a mission to advocate for the human, civil,
and legal rights of people with disabilities in Ohio. Disability Rights Ohio replaced Ohio Legal Rights Service as
Ohio’s Protection and Advocacy (P&A) system and Client Assistance Program (CAP).


{00076468-9}                                             10
  Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 13 of 23 PAGEID #: 996




the same as the rates approved by this Court in 2010. See Exhibit 4, ¶ 15-16, Declaration of

Kerstin Sjoberg-Witt. In October 2012, as Ohio Legal Rights Service became Disability Rights

Ohio, a new not for profit corporation designated to replace Ohio Legal Rights Service as the

protection and advocacy system for people with disabilities in Ohio, billing rates increased to

adjust for inflation and the ever-increasing complexity of litigation in which attorneys at

Disability Rights Ohio engage. Id. at ¶ 16. The rates set by Disability Rights Ohio in October

2012 for attorneys and paralegals were upheld by this Court in a 2013 order granting all attorney

fees requested. Mooneyhan v. Husted, No. 3:12-cv-379, ECF No. 22, Decision and Entry

Sustaining Plaintiff’s Motion for Attorneys’ Fees and Costs (S.D. Ohio, March 29, 2013).

        The Gibsons are entitled to a fee award based on the current rates for Disability Rights

Ohio attorneys and paralegals. Both the Supreme Court and the Sixth Circuit have found that an

adjustment for delay of payment in complex civil rights cases by applying current rather than

historical rates is appropriate. Missouri v. Jenkins, 491 U.S. 274, 283-284 (1989) (agreeing “that

an appropriate adjustment for delay in payment—whether by the application of current rather

than historical hourly rates or otherwise—is within the contemplation of the [fees] statute”),

Barnes v. City of Cincinnati, 401 F.3d 729, 746 (6th Cir. 2005) (affirming district court’s grant

of fees based on current rates for services rendered for the nearly six years of litigation). The

Gibsons initiated this matter in December of 2009. Applying the current rate rather than

historical rates appropriately compensates the Gibsons’ counsel for the legal services rendered of

the last four years of litigation.

        Experienced practitioners before this Court and other courts in Ohio support the billing

rates set by Disability Rights Ohio as reasonable rates based on the expertise, litigation

experience, and type of work engaged in by the attorneys seeking fees in the instant matter.




{00076468-9}                                     11
  Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 14 of 23 PAGEID #: 997




“The rates sought by the counsel in this case are typical of those billed by attorneys of similar

background and experience for this type of litigation in the relevant market, which in this case is

the State of Ohio.” Exhibit 5, ¶ 31, Declaration of Franklin J. Hickman. See also, Oakstone

Community School v. Williams, No. 2:11-cv-01109, ECF Nos. 58 and 58-6 (S.D. Ohio, Oct. 12,

2012).

         Additionally, special education law is a highly specialized practice area and there are few

lawyers available to represent parents and students with disabilities in these matters.

Consequently, the Gibsons appropriately sought representation from Disability Rights Ohio, an

agency that specializes in litigation related to the rights of people with disabilities, including

special education claims. The trial attorney in this case, Virginia Wilson, has approximately 21

years of experience, and her practice has been devoted primarily to special education law for the

past 11 years. Co-counsel in this case, Jason Boylan, has six years of litigation experience

devoted to disability-related issues, including special education.

         Finally, Disability Rights Ohio properly assigned attorneys with the expertise and

experience necessary to navigate a complex special education case such as this, and

appropriately delegated tasks to ensure efficient representation. Trial Attorney Virginia Wilson

and co-counsel Jason Boylan conducted the bulk of the work in this matter. Ms. Wilson charges

a billing rate of $310 and Mr. Boylan has a billing rate of $250. Supervising Attorney Kristin

Hildebrant, with 25 years of litigation experience, provided guidance and strategy input at a

billing rate of $310. Director of Advocacy and Assistant Executive Director Kerstin Sjoberg-

Witt also provided guidance on strategy and input on significant pleadings, at a billing rate of

$270. Work by the attorneys was capably supported by paralegals Christine Retherford, Laura

Bordeau, and Amanda Danko who bill at a rate of $95 per hour, a rate previously determined




{00076468-9}                                      12
  Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 15 of 23 PAGEID #: 998




appropriate by this Court in Doe. Exhibit 3, pg. 9. Their involvement contributed to effective

presentation and organization of the claims without unnecessarily utilizing experienced attorneys

to perform support tasks. Together, these attorneys and paralegals offered a fully competent and

experienced team that ensured a favorable outcome for the Gibsons.

       The Gibsons utilized an appropriate team of lawyers and paralegals to carry out these

tasks, and assigned tasks among staff to avoid incurring unnecessary fees. The attached

affidavits and contemporaneous fee records show the staff involved and the types of tasks that

were carried out. The accompanying declarations by all Disability Rights Ohio staff for whom

fees are sought provide support for the Gibsons’ counsels’ experience and expertise. See

attached exhibits: Ex. 4, Declaration of Kerstin Sjoberg-Witt; Ex. 6, Declaration of Virginia

Wilson; Ex. 7, Declaration of Jason Boylan; Ex. 8, Declaration of Kristin Hildebrant; Ex. 9,

Declaration of Christine Retherford; Ex. 10, Declaration of Laura Bordeau.

       For these reasons, the Gibsons’ rates are reasonable.

               2.      The amount of time spent on the case was reasonable given the
                       complexity and fact-intensive nature of the case, as well as the
                       student’s unique needs.

       Plaintiffs challenging a student’s IEP have the burden of proof in IDEA cases. In order

to meet their burden in this case, the Gibsons were required to prove that Chloe was denied a

FAPE and was harmed by the Forest Hills’ denial of FAPE. Proof in this case was made more

complex because of the nature of Chloe’s disabilities, the effect of those disabilities on her

learning, and the numerous and inaccurate educational records presented in this case. In order to

prove Chloe’s current levels of functioning, her lack of progress, and the educational services

needed to help prepare her for the future, the Gibsons had to present evidence in a multitude of

areas of need, including evidence of needs which impacted Chloe’s ability to make progress




{00076468-9}                                     13
    Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 16 of 23 PAGEID #: 999




toward meeting her postsecondary transition goals. 7

         Proving the elements necessary for a denial of FAPE for Chloe required presentation of a

large number of educational documents created over several years, including evaluations,

educational records, and testimony from a variety of witnesses. The Gibsons’ counsel spent a

great deal of time preparing and litigating the lengthy administrative process which lasted over a

year and involved writing numerous briefs, motions, responses, and replies necessary to

adequately address the issues and advance the case to end with a final comprehensive remedy for

Chloe. The hearing and briefing at the IHO level took 1324.4 total hours after exercising billing

judgment, and by the time this litigation reached this Court, the Gibsons’ counsel had already

spent hundreds of hours on research, drafting, correspondence, and meetings over a

5-year period to advance the case through the detailed administrative process.

         Given the complexity and breadth of the case, the Gibsons have adequately satisfied their

burden of submitting with this petition detailed time entries reflecting the work done by all

attorneys and paralegals in obtaining a positive outcome and disposing of the Forest Hills’

claims. See, Paschal, 297 F.3d at 434 (approving of billing entries that included detailed

description of how the billed hours were spent); Building Serv. Local 47 Cleaning Contractors

Pension Plan v. Grandview Raceway, 46 F.3d 1392, 1402 (6th Cir. 1995) (approving

documentation as adequate where prevailing party submitted time entries that “included a date,

description of the activity involved, the amount of time expended on such activity, and the total

amount owed for that activity”). The Gibsons’ billing records identify the work done with



7
  The Gibsons had to prove what educational services Chloe had been provided in the past several years and her lack
of progress, which was not always clearly or accurately documented in Forest Hills’ educational file on Chloe. The
claims related to her needs for transition included all the academic and functional skills needed to help her transition
to adulthood, including further education, employment, and skills for independent living. This task was further
complicated because Forest Hills had not provided the necessary and appropriate assessments to address all of
Chloe’s needs, including assessments for transition and assistive technology.


{00076468-9}                                              14
 Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 17 of 23 PAGEID #: 1000




sufficient detail to ensure that the lodestar has been reasonably calculated. These

contemporaneously created time entries include the time expended on this case after review for

accuracy and consistency among timekeepers and after the exercise of appropriate billing

judgment to exclude time that is excessive, unnecessary or duplicative, to exclude work

designated as work on clearly unsuccessful claims, and reducing time for travel to 50%. In fact,

the Gibsons’ request for fees was reduced by over $232,000 after the exercise of billing

judgment leaving the reasonable fees requested in the Gibsons’ petition.

                       a)      The Gibsons were successful in obtaining an excellent outcome
                               for Chloe, so they should be awarded a full recovery of fees.

       In determining the reasonableness of fees, the U.S. Supreme Court has explained that

where a plaintiff has obtained excellent results, the attorneys should recover a fully

compensatory fee. Hensley, 461 U.S. at 435. This normally encompasses all hours reasonably

expended on the litigation. Id.

       The Gibsons brought this case to obtain appropriate educational services to enable their

daughter to develop the academic and functional skills she needed to successfully transition to

adulthood. They successfully litigated a multifaceted IDEA complaint and achieved an excellent

result including a ruling that Forest Hills denied Chloe a FAPE for two years, awards of a

significant amount of hours of compensatory education, two comprehensive evaluations, and

substantial IEP changes. This outcome conferred a significant benefit on Chloe because she was

awarded compensatory and prospective services and supports with a transition focus which is

individualized to her needs to help her meet her postsecondary educational goals and work

towards becoming an active participant in her community.

       First, the Gibsons were successful in proving that Chloe’s IEPs for the two years at issue

in the due process were inadequate and that she was denied a FAPE for those two years. IHO



{00076468-9}                                     15
 Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 18 of 23 PAGEID #: 1001




Dec. p. 16. The Gibsons presented several claims related to Forest Hills’ failure to provide

Chloe a FAPE in their due process, and were successful in obtaining a ruling by the IHO that

Forest Hills denied her a FAPE for two years at issue in the hearing based upon these inadequate

IEPs.

        Second, as a result of this litigation, Chloe was provided an excellent remedy that

addressed most of the Gibsons’ claims in the due process. She was awarded 480 hours of

compensatory educational services for the academic deficits in her programming by the IHO and

was ordered an additional 590 hours of compensatory transition services to provide her with

appropriate transition services to make up for the services she was denied by Forest Hills. In

addition to the large award of compensatory educational services, Forest Hills was ordered to

provide Chloe with two comprehensive evaluations: a transition assessment and an augmentative

communication assessment. The IHO also ordered a complete overhaul to Chloe’s educational

programming prospectively and ordered Forest Hills to rewrite her IEP goals to address specific

areas of need, many of which, as discussed below, addressed the needs raised by the Gibsons in

the less successful claims in the IHO’s decision. This Court ordered Forest Hills to provide

Chloe with much of the transition services requested by the Gibsons, including specific

instruction in employability skills, related services such as transportation, job coaching services

for Chloe, and case coordination to ensure Chloe’s interests and preferences were considered in

her compensatory transition programming. The Court also ordered Forest Hills to pay for the

updated transition assessment obtained by the Gibsons to enable the Court to fashion an

appropriate remedy. The Gibsons should be awarded a fully recoverable fee based upon the

excellent success achieved as a result of this litigation.




{00076468-9}                                      16
 Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 19 of 23 PAGEID #: 1002




                       b)     The Gibsons were successful in obtaining a remedy from the
                              IHO and the Court even when the Court or IHO did not
                              specifically “find” for them on their claims, and time spent on
                              those claims involved the same evidence and witnesses to prove
                              a denial of FAPE.

       Where it was possible to do so, the Gibsons’ counsel took careful steps to exercise billing

judgment so as to exclude time documented distinctly as time spent on unsuccessful claims. See,

Hensley, 461 U.S. at 440 (holding that hours spent on unsuccessful claims that are “distinct in all

respects from . . . successful claims . . . should be excluded”). However, some time spent on

successful and unsuccessful claims was so highly intertwined with a successful claim, it was not

distinct. For example, the claim that Forest Hills denied Chloe a FAPE was intricately

intertwined with virtually all of the Gibsons’ claims. Therefore, the time spent pursuing claims

that were related, and had a common core of facts, is properly included in the Gibsons’ fee

petition. Barnes v. City of Cincinnati, 401 F.3d 729, 745 (6th Cir. 2005), (“[S]uccessful and

unsuccessful claims are deemed related when they involve a common core of facts are based on

related legal theories or when counsel’s time is devoted generally to the litigation as a whole,

making it difficult to divide the hours expended”) (internal citations omitted). This was

especially true for claims about Chloe’s transition needs as there was a common core of facts and

related legal theories involved in presenting those claims. Virtually all of the Gibsons’ evidence

in the case was presented to prove that Forest Hills denied Chloe a FAPE for the two years prior

to the hearing by failing to appropriately address her unique educational and functional needs

and enable her to make educational progress, especially in the areas necessary for her to

successfully transition to adulthood.

       The IHO ultimately found that Chloe was denied a FAPE for the entire two years at issue

in the case based upon the inadequacy of her IEP goals. IHO Dec. p. 16, ¶22. The claims raised

by the Gibsons as to the various areas of need were necessarily intertwined with proving Chloe’s


{00076468-9}                                    17
 Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 20 of 23 PAGEID #: 1003




IEP goals, services, and supports were inadequate such that she was denied a FAPE. This was

true even for those claims where the IHO did not specifically order compensatory relief. In fact,

many of the claims that may appear at first blush to be unsuccessful were actually remedied to

Chloe’s benefit through the prospective relief ordered by the IHO and the Court. For example,

the IHO dismissed the Gibsons’ claims that Forest Hills denied Chloe a FAPE by failing to

provide an assistive technology evaluation and to appropriately address her communication

needs, and did not order compensatory education specifically for those claims. The IHO did,

however, make a finding that the assistive technology assessment requested by the Gibsons was

necessary, and then ordered Forest Hills to provide an augmentative communication assessment,

develop goals and objectives, and provide related services based upon that assessment that

addressed Chloe’s need to increase her initiation and output of communication, which were the

same areas of need raised and proved by the Gibsons. IHO Dec. pp. 13, 17.

       Likewise, the IHO addressed many of the Gibsons’ claims regarding independent living

skills by ordering prospective relief to Chloe by adding specific goals that addressed areas of

need raised by the Gibsons in the hearing. While the IHO declined to specifically find a

violation of FAPE regarding a failure to provide appropriate services and goals to decrease

Chloe’s prompt dependency and increase her independence skills in the community, she ordered

Forest Hills to prospectively address the same areas of independence needs raised by the

Gibsons, such as ordering Forest Hills to develop new goals to increase Chloe’s safety skills,

increase coin identification, counting, and skills for making purchases, decrease prompt

dependency in all aspects of Chloe’s education, and increase Chloe’s stamina and strength. IHO

Dec. p. 17.




{00076468-9}                                    18
 Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 21 of 23 PAGEID #: 1004




       The Gibsons request fees for time spent successfully proving Chloe’s IEPs were

inadequate and denied her a FAPE, and this necessarily includes some time for less successful or

unsuccessful claims that were unable to be clearly separated as they involved common facts and

legal theories. Where the Gibsons’ counsel was able to identify a certain task or activity that was

specifically related to a distinct claim on which the Gibsons did not prevail, time for those

matters was deducted from the Gibsons’ fee request. For example, the Gibsons’ counsel

deducted from their fee petition time on tasks that were specifically geared toward researching

issues related to enforcing ODE’s order for compensatory services, as the Gibsons were not

successful in that particular claim with the IHO. Time records that specifically addressed

researching and drafting sections of the Gibsons’ briefs that related only to unsuccessful claims

such as a denial of meaningful parental participation or violation of Section 504, were similarly

deducted from the fees request. All the remaining time was intertwined with work on successful

claims and is appropriate for a fee award here.

               3.      The Gibsons’ exercise of billing judgment is reasonable.

       As this case has begun its fifth year, the gross fees incurred total $1,080,291.00.

However, in calculating the lodestar, the Gibsons’ counsel have exercised billing judgment to

exclude time that might be considered excessive, duplicative, or otherwise unnecessary. The

Gibsons now seek reimbursement of $848,220.00 in fees.

       After the Gibsons’ counsels’ review of the time entries for this matter, billing judgment

was exercised to exclude: (1) 13 timekeepers who billed minimal time to this matter and

potentially represent duplicative time; (2) all time related to ancillary matters, including time

related to enforcing the IHO’s order to provide the full amount of compensatory services and the

augmentative communication assessment through the Ohio Department of Education; (3) any

timekeeping that was deemed excessive, clerical, or duplicative; and 4) work that was distinct


{00076468-9}                                      19
 Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 22 of 23 PAGEID #: 1005




and only for unsuccessful claims. Additionally, time for travel to and from the hearing and other

case related travel was reduced by half.

       As a result, the Gibsons have eliminated approximately $232,000 in fees from this fee

request in the exercise of billing judgment. This adjustment represents a fair and reasonable

reduction of hours in light of the multiple resources necessary to conclude this case.

III.   CONCLUSION

       For the reasons stated above, the Gibsons are entitled to attorneys’ fees and costs in the

amount of $848,220.00, and a reasonable amount for fees incurred for pursuing this motion. If

the Court grants this motion, the Gibsons will supplement with contemporaneous fee records for

time spent on this motion.

                                              Respectfully submitted,

                                              s/ Virginia Wilson
                                              Virginia S. Wilson (0040466)
                                              Trial Attorney for Plaintiffs
                                              vwilson@disabilityrightsohio.org
                                              Jason C. Boylan (0082409)
                                              jboylan@ disabilityrightsohio.org
                                              Ohio Disability Rights Law & Policy Center, Inc.
                                              DISABILITY RIGHTS OHIO
                                              50 W. Broad St., Suite 1400
                                              Columbus, OH 43215-5923
                                              Phone (614) 466-7264
                                              Fax     (614) 644-1888
                                              Counsel for Plaintiffs




{00076468-9}                                    20
 Case: 1:11-cv-00329-SJD Doc #: 51 Filed: 03/28/14 Page: 23 of 23 PAGEID #: 1006




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2014, the aforementioned Plaintiffs’ Motion for

Attorneys’ Fees was filed electronically. Notice of this filing was sent to counsel for Defendant

Forest Hills School District Board of Education via operation of the Court’s electronic filing

system.



                                             Respectfully submitted,

                                             s/ Virginia Wilson
                                             Virginia S. Wilson (0040466)




{00076468-9}
